                                      Exhibit 6
                                  Discovery Requests

          Defendant Syncora Guarantee Inc.’s Emergency Motion to Dissolve the
             Temporary Restraining Order and Conduct Expedited Discovery




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN

                                                         )
In re                                                    ) Chapter 9
                                                         )
CITY OF DETROIT, MICHIGAN,                               ) Case No. 13-53846
                                                         )
                               Debtor.                   ) Hon. Steven W. Rhodes
                                                         )

   SYNCORA GUARANTEE INC., AND SYNCORA CAPITAL ASSURANCE INC.’S
   FIRST SET OF REQUESTS FOR THE PRODUCTION OF DOCUMENTS TO THE
                               DEBTOR

        Pursuant to Local Rule 7026-3 of the United States Bankruptcy Court of the Eastern

District of Michigan and Rules 26 and 34 of the Federal Rules of Civil Procedure, Syncora

Holdings Ltd., Syncora Guarantee Inc. and Syncora Capital Assurance Inc. (collectively,

“Syncora”) request that the Debtor City of Detroit (the “Debtor” or the “City”) produce for

inspection and copying all documents and tangible things requested below in accordance with

the Definitions and Instructions set forth below at the offices of their counsel, Kirkland & Ellis

LLP, 300 North LaSalle, Chicago, Illinois, by August 2, 2013. Each of the following requests is

continuing in nature, such that if the City obtains or discovers additional responsive documents

and things at a later date, such documents and things are to be made available to Syncora for

inspection and copying.

                                          DEFINITIONS

        1.      The terms “you” or “The City of Detroit” or the “City” mean the Debtor City of

Detroit, or any other persons or entities acting or purporting to act for or on its behalf, including,

but not limited to, Emergency Manager Kevyn Orr and his advisors.

        2.      The term “Syncora” means Syncora Holdings Ltd., Syncora Guarantee Inc. and

Syncora Capital Assurance Inc.




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       3.      “Service Corporations” means the Detroit Police and Fire Retirement System

Service Corporation and the Detroit General Retirement System Service Corporation, as defined

in paragraph 11 of the Motion of Debtor for Entry of an Order (i) Authorizing the Assumption of

that Certain Forbearance and Optional Termination Agreement Pursuant to Section 365(a) of

the Bankruptcy Code, (ii) Approving Such Agreement Pursuant to Rule 9019, and (iii) Granting

Related Relief [Docket No. 17] (“Motion to Assume Forbearance Agreement”).

       4.      “Swap Counterparty” shall have the definition given that term in the Forbearance

Agreement.

       5.      “U.S. Bank” means U.S. Bank National Association.

       6.      The term “Forbearance Agreement” means the Forbearance and Optional

Termination Agreement executed as of July 15, 2013 and attached as Exhibit 6 to the Motion to

Assume Forbearance Agreement.

       7.      The term “Collateral Agreement” has the meaning given that term in the

Forbearance Agreement.

       8.      The term “Swap Agreement” has the meaning given that term in the Forbearance

Agreement.

       9.      The term “General Receipts Subaccount” has meaning given that term in the

Collateral Agreement.

       10.     The “Optional Termination Amount” has the meaning given that term in the

Forbearance Agreement.

       11.     “Certificates of Participation” shall have the meaning given that term in

paragraphs 11 and 12 of the Motion to Assume Forbearance Agreement.




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        12.     “Document” shall have the full meaning ascribed to it by Rule 34(a) of the

Federal Rules of Civil Procedure, and in particular includes (but is not limited to) every writing

or record of every type and description, including letters, correspondence, diaries, memoranda,

tapes, electronic data or storage, stenographic or handwritten notes, studies, publications, books,

pamphlets, pictures, films, reports, financial statements, applications, emails, and tests, however

produced or reproduced, in the City’s possession, custody, or control. “Document” also includes

all copies and drafts of every writing or record when the copy or draft is not identical to the

original.

        13.     “Concerning,” “relating to,” and “referring to” are synonymous for the purposes

of these Requests, and mean reflecting, describing, evidencing, constituting, containing, alluding

to, germane to, mentioning, analyzing, setting forth, summarizing, characterizing, contradicting,

incorporating, affecting, including or otherwise pertaining—either directly or indirectly—to the

subject matter of the inquiry.

        14.     The terms “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive. The singular form of a noun or

pronoun includes the plural form and vice versa.

        15.     The terms “including,” “include” or “includes” mean including, but not limited to.

        16.     The terms “each,” “any,” and “all” shall be construed to mean “each and every.”

        17.     The use of the singular form of a noun includes the plural form, and vice versa.

                                        INSTRUCTIONS

        1.      Each Request extends to all documents in the City’s possession, custody, or

control or in the possession, custody, or control of anyone acting on the City’s behalf. A

document is to be deemed in the City’s possession, custody, or control if it is in the City’s

physical custody, or if it is in the physical custody of any person and the City (i) owns such

                                                  3
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document in whole or in part; (ii) has a right, by contract, statute, or otherwise to use, inspect,

examine, or copy such document on any terms; (iii) has an understanding, express or implied,

that the City may use, inspect, examine, or copy such document on any terms; or (iv) has, as a

practical matter, been able to use, inspect, examine or copy such document when the City sought

to do so.

         2.     If the location of any requested document is known but the document is not

produced on the ground that the document is not in the City’s possession, custody, or control,

identify the document and identify the person believed to have possession, custody, or control of

the document.

         3.     The response shall expressly indicate if no responsive documents are known to

exist.

         4.     All documents should be produced in their entirety without redaction and should

include all attachments and enclosures.

         5.     The response should state whether the City will produce documents as they are

kept in the usual course of business or organized and labeled to correspond with the categories in

the Request.

         6.     The response to each Request shall state, with respect to each item or category,

that production will be made or inspection will be permitted as requested, unless the Request is

objected to, in which event the reason(s) for objection shall be stated. If objection is made to

part of a Request, the part shall be specified; documents responsive to the remainder of the

Request shall be produced. Any such objection shall not extend the time within which the City

must otherwise respond to a Request to which no specific objection has been made.




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        7.      With respect to any documents or information withheld on a claim of attorney–

client privilege, the attorney work product doctrine, or any other applicable privilege, the

response shall provide an express statement of the asserted privilege that includes the following

information: (i) the applicable date; (ii) the identity of the author(s), including the business or

legal title(s) or position(s); (iii) the identity of the recipient(s), including business or legal title(s)

or position(s); (iv) the subject matter of the document; (v) the identity of all other persons who

received copies; and (vi) the specific factual basis of the claimed privilege or other protection

from discovery.

        8.      These Requests shall be deemed continuing in nature to the extent permitted by

Rule 26(e) of the Federal Rules of Civil Procedure.



                                     DOCUMENT REQUESTS

        1.      All documents relating to the Forbearance Agreement, including but not limited to

prior drafts of the Forbearance Agreement, documents relating to the negotiation of the

Forbearance Agreement, documents relating to any alternative proposed structures of the

Forbearance Agreement and documents relating to the decision to enter into the Forbearance

Agreement.

        2.      All documents relating to the General Receipts Subaccount, including but not

limited to documents showing the flow of funds into, and out of, the General Receipts

Subaccount.

        3.      All documents relating to the City’s ability to pay the Optional Termination

Amount.

        4.      All documents relating to the Swap Agreements.



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      5.       All documents relating to communications with U.S. Bank regarding the

Holdback Account and/or the General Receipts Subaccount

      6.       All documents relating to the validity of the Certificates of Participation.

      7.       All documents relating to any non-disclosure agreement between the City and the

Swap Counterparties.

      8.       All documents which the City intends to rely upon in connection with the Hearing

on its Motion to Assume Forbearance Agreement.




Dated: July 23, 2013                  /s/ Ryan Blaine Bennett
                                      James H.M. Sprayregen, P.C.
                                      Ryan Blaine Bennett
                                      Stephen C. Hackney
                                      KIRKLAND & ELLIS LLP
                                      300 North LaSalle
                                      Chicago, Illinois 60654
                                      Telephone:     (312) 862-2000
                                      Facsimile:     (312) 862-2200
                                             - and -
                                      Stephen M. Gross
                                      David A. Agay
                                      Joshua Gadharf
                                      MCDONALD HOPKINS LLC
                                      39533 Woodward Avenue
                                      Bloomfield Hills, MI 48304
                                      Telephone:    (248) 646-5070
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                                      Attorneys for Syncora Guarantee Inc. and Syncora Capital
                                      Assurance Inc.




                                                 6
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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

                                                      )
In re                                                 ) Chapter 9
                                                      )
CITY OF DETROIT, MICHIGAN,                            ) Case No. 13-53846
                                                      )
                              Debtor.                 ) Hon. Steven W. Rhodes
                                                      )

   SYNCORA GUARANTEE INC., AND SYNCORA CAPITAL ASSURANCE INC.’S
         NOTICE OF DEPOSITION TO DEBTOR CITY OF DETROIT

        PLEASE TAKE NOTICE THAT, pursuant to Local Rule 7026-3 of the United States

Bankruptcy Court of the Eastern District of Michigan and Rules 26 and 30(b)(6) of the Federal

Rules of Civil Procedure, Syncora Holdings Ltd., Syncora Guarantee Inc. and Syncora Capital

Assurance Inc. (collectively, “Syncora”) will take the deposition upon oral examination of the

Debtor City of Detroit (“Debtor” or the “City”) at 9:00 am EST on August 9, 2013 at the law

offices of Mantese Honigman Rossman and Williamson, P.C., 1361 E. Big Beaver Rd., Troy,

Michigan 48083 or at such other time and place as may be agreed upon by counsel for the

parties. The deposition will be recorded by videotape and stenographer. The deposition will

continue from day to day until completed.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 30(b)(6), the City is

required to designate and produce one or more officers, directors, managing agents, or other

persons who consent to testify on its behalf with respect to the matters set forth in Schedule A.

The person(s) so designated shall be required to testify as to each of those matters known or

reasonably available to the City.




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Dated: July 23, 2013           /s/ Ryan Blaine Bennett
                               James H.M. Sprayregen, P.C.
                               Ryan Blaine Bennett
                               Stephen C. Hackney
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                               Facsimile:     (312) 862-2200
                                      - and -
                               Stephen M. Gross
                               David A. Agay
                               Joshua Gadharf
                               MCDONALD HOPKINS LLC
                               39533 Woodward Avenue
                               Bloomfield Hills, MI 48304
                               Telephone:    (248) 646-5070
                               Facsimile:    (248) 646-5075

                               Attorneys for Syncora Guarantee Inc. and Syncora Capital
                               Assurance Inc.




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                                          SCHEDULE A

                                          DEFINITIONS

       1.      The terms “you” or “The City of Detroit” or the “City” mean the Debtor City of

Detroit, or any other persons or entities acting or purporting to act for or on its behalf, including,

but not limited to, Emergency Manager Kevyn Orr and his advisors.

       2.      The term “Syncora” means Syncora Holdings Ltd., Syncora Guarantee Inc. and

Syncora Capital Assurance Inc.

       3.      The term “FGIC” shall mean Financial Guaranty Insurance Company.

       4.      “Service Corporations” means the Detroit Police and Fire Retirement System

Service Corporation and the Detroit General Retirement System Service Corporation, as defined

in paragraph 11 of the Motion of Debtor for Entry of an Order (i) Authorizing the Assumption of

that Certain Forbearance and Optional Termination Agreement Pursuant to Section 365(a) of

the Bankruptcy Code, (ii) Approving Such Agreement Pursuant to Rule 9019, and (iii) Granting

Related Relief [Docket No. 17] (“Motion to Assume Forbearance Agreement”).

      5.       “Swap Counterparty” shall have the definition given that term in the Forbearance
Agreement.

       6.      “U.S. Bank” shall mean U.S. Bank National Association.

       7.      The term “Forbearance Agreement” means the Forbearance and Optional

Termination Agreement executed as of July 15, 2013 and attached as Exhibit 6 to the Motion to

Assume Forbearance Agreement.

       8.      The term “Collateral Agreement” has the meaning given that term in Forbearance

Agreement.

       9.      The term “Transaction Documents” has the meaning given that term in the

Forbearance Agreement.


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       10.     The term “Holdback Account” has the meaning given that term in the Collateral

Agreement.

       11.     The term “General Receipts Subaccount” has the meaning given that term in the

Collateral Agreement.

       12.     The term “Termination Rights” has the meaning given that term in the

Forbearance Agreement.

       13.     The term “Motion for a Temporary Restraining Order” shall mean the action

described in paragraph 25 of the Motion to Assume Forbearance Agreement.

       14.     “Concerning,” “relating to,” and “referring to” are synonymous for the purposes

of these Requests, and mean reflecting, describing, evidencing, constituting, containing, alluding

to, germane to, mentioning, analyzing, setting forth, summarizing, characterizing, contradicting,

incorporating, affecting, including or otherwise pertaining—either directly or indirectly—to the

subject matter of the inquiry.

       15.     The terms “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive. The singular form of a noun or

pronoun includes the plural form and vice versa.

       16.     The terms “including,” “include” or “includes” mean including, but not limited to.

       17.     The terms “each,” “any,” and “all” shall be construed to mean “each and every.”

       18.     The use of the singular form of a noun includes the plural form, and vice versa.

                                     DEPOSITION TOPICS

       1.      The Forbearance Agreement, including but not limited to its terms and the City’s

ability to exercise the Termination Right.

       2.      The negotiations regarding the Forbearance Agreement, including but not limited

to the participants in those negotiations, the decision to enter into the Forbearance Agreement,

                                                  4
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and any non-disclosure agreement entered into with any party relating to the negotiations of the

Forbearance Agreement.

       3.      The operation of the Holdback Account and the General Receipt Subaccount,

including but not limited to the amount of money that flows to the City from the General

Receipts Subaccount and the City’s current uses of the funds in the General Receipts

Subaccount.

       4.      The terms of the Collateral Agreement.

       5.      The occurrence of any Events of Default, Termination Events, or Early

Termination Events under the Forbearance Agreement or any Transaction Documents.

       6.      Communications with US Bank, the Swap Counterparties, and/or the Service

Corporations regarding the Operation of the Collateral Agreement.

       7.      The City’s efforts to negotiate with Syncora.

       8.      Communications with FGIC regarding the Forbearance Agreement, the Swap

Agreement, or the Collateral Agreement.

       9.      The irreparable harm the City would suffer if not granted access to the funds in

the General Receipts Subaccount.

       10.     The City’s Motion for a Temporary Restraining Order.




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN

                                                      )
In re                                                 ) Chapter 9
                                                      )
CITY OF DETROIT, MICHIGAN,                            ) Case No. 13-53846
                                                      )
                             Debtor.                  ) Hon. Steven W. Rhodes
                                                      )

   SYNCORA GUARANTEE INC., AND SYNCORA CAPITAL ASSURANCE INC.’S
                NOTICE OF DEPOSITION TO UBS AG

        PLEASE TAKE NOTICE THAT, pursuant to Local Rule 7026-3 of the United States

Bankruptcy Court of the Eastern District of Michigan and Rules 26 and 30(b)(6) of the Federal

Rules of Civil Procedure, Syncora Holdings Ltd., Syncora Guarantee Inc. and Syncora Capital

Assurance Inc. (collectively, “Syncora”) will take the deposition upon oral examination of UBS

AG (“UBS”) at 9:00 am EST on August 9, 2013 at the law offices of Mantese Honigman

Rossman and Williamson, P.C., 1361 E. Big Beaver Rd., Troy, Michigan 48083 or at such other

time and place as may be agreed upon by counsel for the parties. The deposition will be

recorded by videotape and stenographer. The deposition will continue from day to day until

completed.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 30(b)(6), the UBS AG

(“UBS”) is required to designate and produce one or more officers, directors, managing agents,

or other persons who consent to testify on its behalf with respect to the matters set forth in

Schedule A. The person(s) so designated shall be required to testify as to each of those matters

known or reasonably available to UBS AG (“UBS”).




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Dated: July 23, 2013            /s/ Ryan Blaine Bennett
                                James H.M. Sprayregen, P.C.
                                Ryan Blaine Bennett
                                Stephen C. Hackney
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                                300 North LaSalle
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                                Attorneys for Syncora Guarantee Inc. and Syncora Capital
                                Assurance Inc.




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                                           SCHEDULE A

                                           DEFINITIONS

        1.      The terms “you” shall mean UBS AG (“UBS”) or any other persons or entities

acting or purporting to act for or on its behalf.

        2.      The terms “The City of Detroit” or the “City” mean the Debtor City of Detroit, or

any other persons or entities acting or purporting to act for or on its behalf, including, but not

limited to, Emergency Manager Kevyn Orr and his advisors.

        3.      The term “Syncora” means Syncora Holdings Ltd., Syncora Guarantee Inc. and

Syncora Capital Assurance Inc.

        4.      The term “FGIC” shall mean Financial Guaranty Insurance Company.

        5.      “Service Corporations” means the Detroit Police and Fire Retirement System

Service Corporation and the Detroit General Retirement System Service Corporation, as defined

in paragraph 11 of the Motion of Debtor for Entry of an Order (i) Authorizing the Assumption of

that Certain Forbearance and Optional Termination Agreement Pursuant to Section 365(a) of

the Bankruptcy Code, (ii) Approving Such Agreement Pursuant to Rule 9019, and (iii) Granting

Related Relief [Docket No. 17] (“Motion to Assume Forbearance Agreement”).

      6.        “Swap Counterparty” shall have the definition given that term in the Forbearance
Agreement.

        7.      “U.S. Bank” shall mean U.S. Bank National Association.

        8.      The term “Forbearance Agreement” means the Forbearance and Optional

Termination Agreement executed as of July 15, 2013 and attached as Exhibit 6 to the Motion to

Assume Forbearance Agreement.

        9.      The term “Collateral Agreement” has the meaning given that term in Forbearance

Agreement.




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       10.     The term “Transaction Documents” has the meaning given that term in the

Forbearance Agreement.

       11.     The term “Holdback Account” has the meaning given that term in the Collateral

Agreement.

       12.     The term “General Receipts Subaccount” has the meaning given that term in the

Collateral Agreement.

       13.     The term “Termination Rights” has the meaning given that term in the

Forbearance Agreement.

       14.     The term “Motion for a Temporary Restraining Order” shall mean the action

described in paragraph 25 of the Motion to Assume Forbearance Agreement.

       15.     “Concerning,” “relating to,” and “referring to” are synonymous for the purposes

of these Requests, and mean reflecting, describing, evidencing, constituting, containing, alluding

to, germane to, mentioning, analyzing, setting forth, summarizing, characterizing, contradicting,

incorporating, affecting, including or otherwise pertaining—either directly or indirectly—to the

subject matter of the inquiry.

       16.     The terms “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive. The singular form of a noun or

pronoun includes the plural form and vice versa.

       17.     The terms “including,” “include” or “includes” mean including, but not limited to.

       18.     The terms “each,” “any,” and “all” shall be construed to mean “each and every.”

       19.     The use of the singular form of a noun includes the plural form, and vice versa.




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                                    DEPOSITION TOPICS

       1.      The Forbearance Agreement, including but not limited to its terms and the City’s

ability to exercise the Termination Right.

       2.      The negotiations regarding the Forbearance Agreement, including but not limited

to the participants in those negotiations, the decision to enter into the Forbearance Agreement,

and any non-disclosure agreement entered into with any party relating to the negotiations of the

Forbearance Agreement.

       3.      The operation of the Holdback Account and the General Receipt Subaccount,

including but not limited to the amount of money that flows to the City from the General

Receipts Subaccount.

       4.      The terms of the Collateral Agreement.

       5.      The occurrence of any Events of Default, Termination Events, or Early

Termination Events under the Forbearance Agreement or any Transaction Documents.

       6.      Communications with US Bank, the City, and/or the Service Corporations

regarding the Operation of the Collateral Agreement.

       7.      Communications with FGIC regarding the Forbearance Agreement, the Swap

Agreement, or the Collateral Agreement.




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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

                                                        )
In re                                                   ) Chapter 9
                                                        )
CITY OF DETROIT, MICHIGAN,                              ) Case No. 13-53846
                                                        )
                              Debtor.                   ) Hon. Steven W. Rhodes
                                                        )

    SYNCORA GUARANTEE INC., AND SYNCORA CAPITAL ASSURANCE INC.’S
    NOTICE OF DEPOSITION TO SBS FINANCIAL PRODUCTS COMPANY, LLC

        PLEASE TAKE NOTICE THAT, pursuant to Local Rule 7026-3 of the United States

Bankruptcy Court of the Eastern District of Michigan and Rules 26 and 30(b)(6) of the Federal

Rules of Civil Procedure, Syncora Holdings Ltd., Syncora Guarantee Inc. and Syncora Capital

Assurance Inc. (collectively, “Syncora”) will take the deposition upon oral examination of SBS

Financial Products Company, LLC (“SBS”) at 9:00 am EST on August 9, 2013 at the law offices

of Mantese Honigman Rossman and Williamson, P.C., 1361 E. Big Beaver Rd., Troy, Michigan

48083 or at such other time and place as may be agreed upon by counsel for the parties. The

deposition will be recorded by videotape and stenographer. The deposition will continue from

day to day until completed.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 30(b)(6), SBS is required

to designate and produce one or more officers, directors, managing agents, or other persons who

consent to testify on its behalf with respect to the matters set forth in Schedule A. The person(s)

so designated shall be required to testify as to each of those matters known or reasonably

available to SBS.




13-53846-tjt    Doc 142-6      Filed 07/24/13     Entered 07/24/13 00:24:59       Page 18 of 66
Dated: July 23, 2013            /s/ Ryan Blaine Bennett
                                James H.M. Sprayregen, P.C.
                                Ryan Blaine Bennett
                                Stephen C. Hackney
                                KIRKLAND & ELLIS LLP
                                300 North LaSalle
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                                Facsimile:     (312) 862-2200
                                       - and -
                                Stephen M. Gross
                                David A. Agay
                                Joshua Gadharf
                                MCDONALD HOPKINS LLC
                                39533 Woodward Avenue
                                Bloomfield Hills, MI 48304
                                Telephone:    (248) 646-5070
                                Facsimile:    (248) 646-5075

                                Attorneys for Syncora Guarantee Inc. and Syncora Capital
                                Assurance Inc.




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                                           SCHEDULE A

                                           DEFINITIONS

       1.      The terms “you” shall mean SBS Financial Products Company, LLC or any other

persons or entities acting or purporting to act for or on its behalf.

       2.      The terms “The City of Detroit” or the “City” mean the Debtor City of Detroit, or

any other persons or entities acting or purporting to act for or on its behalf, including, but not

limited to, Emergency Manager Kevyn Orr and his advisors.

       3.      The term “Syncora” means Syncora Holdings Ltd., Syncora Guarantee Inc. and

Syncora Capital Assurance Inc.

       4.      The term “FGIC” shall mean Financial Guaranty Insurance Company.

       5.      “Service Corporations” means the Detroit Police and Fire Retirement System

Service Corporation and the Detroit General Retirement System Service Corporation, as defined

in paragraph 11 of the Motion of Debtor for Entry of an Order (i) Authorizing the Assumption of

that Certain Forbearance and Optional Termination Agreement Pursuant to Section 365(a) of

the Bankruptcy Code, (ii) Approving Such Agreement Pursuant to Rule 9019, and (iii) Granting

Related Relief [Docket No. 17] (“Motion to Assume Forbearance Agreement”).

      6.       “Swap Counterparty” shall have the definition given that term in the Forbearance
Agreement.

       7.      “U.S. Bank” shall mean U.S. Bank National Association.

       8.      The term “Forbearance Agreement” means the Forbearance and Optional

Termination Agreement executed as of July 15, 2013 and attached as Exhibit 6 to the Motion to

Assume Forbearance Agreement.

       9.      The term “Collateral Agreement” has the meaning given that term in Forbearance

Agreement.




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       10.     The term “Transaction Documents” has the meaning given that term in the

Forbearance Agreement.

       11.     The term “Holdback Account” has the meaning given that term in the Collateral

Agreement.

       12.     The term “General Receipts Subaccount” has the meaning given that term in the

Collateral Agreement.

       13.     The term “Termination Rights” has the meaning given that term in the

Forbearance Agreement.

       14.     The term “Motion for a Temporary Restraining Order” shall mean the action

described in paragraph 25 of the Motion to Assume Forbearance Agreement.

       15.     “Concerning,” “relating to,” and “referring to” are synonymous for the purposes

of these Requests, and mean reflecting, describing, evidencing, constituting, containing, alluding

to, germane to, mentioning, analyzing, setting forth, summarizing, characterizing, contradicting,

incorporating, affecting, including or otherwise pertaining—either directly or indirectly—to the

subject matter of the inquiry.

       16.     The terms “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive. The singular form of a noun or

pronoun includes the plural form and vice versa.

       17.     The terms “including,” “include” or “includes” mean including, but not limited to.

       18.     The terms “each,” “any,” and “all” shall be construed to mean “each and every.”

       19.     The use of the singular form of a noun includes the plural form, and vice versa.




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                                    DEPOSITION TOPICS

       1.      The Forbearance Agreement, including but not limited to its terms and the City’s

ability to exercise the Termination Right.

       2.      The negotiations regarding the Forbearance Agreement, including but not limited

to the participants in those negotiations, the decision to enter into the Forbearance Agreement,

and any non-disclosure agreement entered into with any party relating to the negotiations of the

Forbearance Agreement.

       3.      The operation of the Holdback Account and the General Receipt Subaccount,

including but not limited to the amount of money that flows to the City from the General

Receipts Subaccount.

       4.      The terms of the Collateral Agreement.

       5.      The occurrence of any Events of Default, Termination Events, or Early

Termination Events under the Forbearance Agreement or any Transaction Documents.

       6.      Communications with US Bank, the City, and/or the Service Corporations

regarding the Operation of the Collateral Agreement.

       7.      Communications with FGIC regarding the Forbearance Agreement, the Swap

Agreement, or the Collateral Agreement.




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN

                                                      )
In re                                                 ) Chapter 9
                                                      )
CITY OF DETROIT, MICHIGAN,                            ) Case No. 13-53846
                                                      )
                             Debtor.                  ) Hon. Steven W. Rhodes
                                                      )

   SYNCORA GUARANTEE INC., AND SYNCORA CAPITAL ASSURANCE INC.’S
    NOTICE OF DEPOSITION TO MERRILL LYNCH CAPITAL SERVICES, INC.

        PLEASE TAKE NOTICE THAT, pursuant to Local Rule 7026-3 of the United States

Bankruptcy Court of the Eastern District of Michigan and Rules 26 and 30(b)(6) of the Federal

Rules of Civil Procedure, Syncora Holdings Ltd., Syncora Guarantee Inc. and Syncora Capital

Assurance Inc. (collectively, “Syncora”) will take the deposition upon oral examination of

Merrill Lynch Capital Services, Inc (“MLCS”) at 9:00 am EST on August 9, 2013 at the law

offices of Mantese Honigman Rossman and Williamson, P.C., 1361 E. Big Beaver Rd., Troy,

Michigan 48083 or at such other time and place as may be agreed upon by counsel for the

parties. The deposition will be recorded by videotape and stenographer. The deposition will

continue from day to day until completed.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 30(b)(6), MLCS is

required to designate and produce one or more officers, directors, managing agents, or other

persons who consent to testify on its behalf with respect to the matters set forth in Schedule A.

The person(s) so designated shall be required to testify as to each of those matters known or

reasonably available to MLCS.




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Dated: July 23, 2013            /s/ Ryan Blaine Bennett
                                James H.M. Sprayregen, P.C.
                                Ryan Blaine Bennett
                                Stephen C. Hackney
                                KIRKLAND & ELLIS LLP
                                300 North LaSalle
                                Chicago, Illinois 60654
                                Telephone:     (312) 862-2000
                                Facsimile:     (312) 862-2200
                                       - and -
                                Stephen M. Gross
                                David A. Agay
                                Joshua Gadharf
                                MCDONALD HOPKINS LLC
                                39533 Woodward Avenue
                                Bloomfield Hills, MI 48304
                                Telephone:    (248) 646-5070
                                Facsimile:    (248) 646-5075

                                Attorneys for Syncora Guarantee Inc. and Syncora Capital
                                Assurance Inc.




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                                          SCHEDULE A

                                          DEFINITIONS

       1.      The terms “you” shall mean Merrill Lynch Capital Services, Inc (“MLCS”) or

any other persons or entities acting or purporting to act for or on its behalf.

       2.      The terms “The City of Detroit” or the “City” mean the Debtor City of Detroit, or

any other persons or entities acting or purporting to act for or on its behalf, including, but not

limited to, Emergency Manager Kevyn Orr and his advisors.

       3.      The term “Syncora” means Syncora Holdings Ltd., Syncora Guarantee Inc. and

Syncora Capital Assurance Inc.

       4.      The term “FGIC” shall mean Financial Guaranty Insurance Company.

       5.      “Service Corporations” means the Detroit Police and Fire Retirement System

Service Corporation and the Detroit General Retirement System Service Corporation, as defined

in paragraph 11 of the Motion of Debtor for Entry of an Order (i) Authorizing the Assumption of

that Certain Forbearance and Optional Termination Agreement Pursuant to Section 365(a) of

the Bankruptcy Code, (ii) Approving Such Agreement Pursuant to Rule 9019, and (iii) Granting

Related Relief [Docket No. 17] (“Motion to Assume Forbearance Agreement”).

      6.       “Swap Counterparty” shall have the definition given that term in the Forbearance
Agreement.

       7.      “U.S. Bank” shall mean U.S. Bank National Association.

       8.      The term “Forbearance Agreement” means the Forbearance and Optional

Termination Agreement executed as of July 15, 2013 and attached as Exhibit 6 to the Motion to

Assume Forbearance Agreement.

       9.      The term “Collateral Agreement” has the meaning given that term in Forbearance

Agreement.




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       10.     The term “Transaction Documents” has the meaning given that term in the

Forbearance Agreement.

       11.     The term “Holdback Account” has the meaning given that term in the Collateral

Agreement.

       12.     The term “General Receipts Subaccount” has the meaning given that term in the

Collateral Agreement.

       13.     The term “Termination Rights” has the meaning given that term in the

Forbearance Agreement.

       14.     The term “Motion for a Temporary Restraining Order” shall mean the action

described in paragraph 25 of the Motion to Assume Forbearance Agreement.

       15.     “Concerning,” “relating to,” and “referring to” are synonymous for the purposes

of these Requests, and mean reflecting, describing, evidencing, constituting, containing, alluding

to, germane to, mentioning, analyzing, setting forth, summarizing, characterizing, contradicting,

incorporating, affecting, including or otherwise pertaining—either directly or indirectly—to the

subject matter of the inquiry.

       16.     The terms “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive. The singular form of a noun or

pronoun includes the plural form and vice versa.

       17.     The terms “including,” “include” or “includes” mean including, but not limited to.

       18.     The terms “each,” “any,” and “all” shall be construed to mean “each and every.”

       19.     The use of the singular form of a noun includes the plural form, and vice versa.




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                                    DEPOSITION TOPICS

       1.      The Forbearance Agreement, including but not limited to its terms and the City’s

ability to exercise the Termination Right.

       2.      The negotiations regarding the Forbearance Agreement, including but not limited

to the participants in those negotiations, the decision to enter into the Forbearance Agreement,

and any non-disclosure agreement entered into with any party relating to the negotiations of the

Forbearance Agreement.

       3.      The operation of the Holdback Account and the General Receipt Subaccount,

including but not limited to the amount of money that flows to the City from the General

Receipts Subaccount.

       4.      The terms of the Collateral Agreement.

       5.      The occurrence of any Events of Default, Termination Events, or Early

Termination Events under the Forbearance Agreement or any Transaction Documents.

       6.      Communications with US Bank, the City, and/or the Service Corporations

regarding the Operation of the Collateral Agreement.

       7.      Communications with FGIC regarding the Forbearance Agreement, the Swap

Agreement, or the Collateral Agreement.




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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

                                                       )
In re                                                  ) Chapter 9
                                                       )
CITY OF DETROIT, MICHIGAN,                             ) Case No. 13-53846
                                                       )
                              Debtor.                  ) Hon. Steven W. Rhodes
                                                       )

   SYNCORA GUARANTEE INC., AND SYNCORA CAPITAL ASSURANCE INC.’S
    NOTICE OF DEPOSITION TO DETROIT POLICE AND FIRE RETIREMENT
                   SYSTEM SERVICE CORPORATION

        PLEASE TAKE NOTICE THAT, pursuant to Local Rule 7026-3 of the United States

Bankruptcy Court of the Eastern District of Michigan and Rules 26 and 30(b)(6) of the Federal

Rules of Civil Procedure, Syncora Holdings Ltd., Syncora Guarantee Inc. and Syncora Capital

Assurance Inc. (collectively, “Syncora”) will take the deposition upon oral examination of the

Detroit Police and Fire Retirement System Service Corporation (“DPFRS Service Corporation”)

at 9:00 am EST on August 9, 2013 at the law offices of Mantese Honigman Rossman and

Williamson, P.C., 1361 E. Big Beaver Rd., Troy, Michigan 48083 or at such other time and place

as may be agreed upon by counsel for the parties. The deposition will be recorded by videotape

and stenographer. The deposition will continue from day to day until completed.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 30(b)(6), the DPFRS

Service Corporation is required to designate and produce one or more officers, directors,

managing agents, or other persons who consent to testify on its behalf with respect to the matters

set forth in Schedule A. The person(s) so designated shall be required to testify as to each of

those matters known or reasonably available to the DPFRS Service Corporation.




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Dated: July 23, 2013            /s/ Ryan Blaine Bennett
                                James H.M. Sprayregen, P.C.
                                Ryan Blaine Bennett
                                Stephen C. Hackney
                                KIRKLAND & ELLIS LLP
                                300 North LaSalle
                                Chicago, Illinois 60654
                                Telephone:     (312) 862-2000
                                Facsimile:     (312) 862-2200
                                       - and -
                                Stephen M. Gross
                                David A. Agay
                                Joshua Gadharf
                                MCDONALD HOPKINS LLC
                                39533 Woodward Avenue
                                Bloomfield Hills, MI 48304
                                Telephone:    (248) 646-5070
                                Facsimile:    (248) 646-5075

                                Attorneys for Syncora Guarantee Inc. and Syncora Capital
                                Assurance Inc.




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                                          SCHEDULE A

                                          DEFINITIONS

        1.      The terms “you” or “DPFRS Service Corporation” shall mean the Detroit Police

and Fire Retirement System Service Corporation, or any other persons or entities acting or

purporting to act for or on its behalf.

        2.      The terms “The City of Detroit” or the “City” mean the Debtor City of Detroit, or

any other persons or entities acting or purporting to act for or on its behalf, including, but not

limited to, Emergency Manager Kevyn Orr and his advisors.

        3.      The term “Syncora” means Syncora Holdings Ltd., Syncora Guarantee Inc. and

Syncora Capital Assurance Inc.

        4.      The term “FGIC” shall mean Financial Guaranty Insurance Company.

        5.      “Service Corporations” means the Detroit Police and Fire Retirement System

Service Corporation and the Detroit General Retirement System Service Corporation, as defined

in paragraph 11 of the Motion of Debtor for Entry of an Order (i) Authorizing the Assumption of

that Certain Forbearance and Optional Termination Agreement Pursuant to Section 365(a) of

the Bankruptcy Code, (ii) Approving Such Agreement Pursuant to Rule 9019, and (iii) Granting

Related Relief [Docket No. 17] (“Motion to Assume Forbearance Agreement”).

      6.        “Swap Counterparty” shall have the definition given that term in the Forbearance
Agreement.

        7.      “U.S. Bank” shall mean U.S. Bank National Association.

        8.      The term “Forbearance Agreement” means the Forbearance and Optional

Termination Agreement executed as of July 15, 2013 and attached as Exhibit 6 to the Motion to

Assume Forbearance Agreement.




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       9.      The term “Collateral Agreement” has the meaning given that term in Forbearance

Agreement.

       10.     The term “Transaction Documents” has the meaning given that term in the

Forbearance Agreement.

       11.     The term “Holdback Account” has the meaning given that term in the Collateral

Agreement.

       12.     The term “General Receipts Subaccount” has the meaning given that term in the

Collateral Agreement.

       13.     The term “Termination Rights” has the meaning given that term in the

Forbearance Agreement.

       14.     The term “Motion for a Temporary Restraining Order” shall mean the action

described in paragraph 25 of the Motion to Assume Forbearance Agreement.

       15.     “Concerning,” “relating to,” and “referring to” are synonymous for the purposes

of these Requests, and mean reflecting, describing, evidencing, constituting, containing, alluding

to, germane to, mentioning, analyzing, setting forth, summarizing, characterizing, contradicting,

incorporating, affecting, including or otherwise pertaining—either directly or indirectly—to the

subject matter of the inquiry.

       16.     The terms “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive. The singular form of a noun or

pronoun includes the plural form and vice versa.

       17.     The terms “including,” “include” or “includes” mean including, but not limited to.

       18.     The terms “each,” “any,” and “all” shall be construed to mean “each and every.”

       19.     The use of the singular form of a noun includes the plural form, and vice versa.




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                                    DEPOSITION TOPICS

       1.      The Forbearance Agreement, including but not limited to its terms and the City’s

ability to exercise the Termination Right.

       2.      The negotiations regarding the Forbearance Agreement, including but not limited

to the participants in those negotiations, the decision to enter into the Forbearance Agreement,

and any non-disclosure agreement entered into with any party relating to the negotiations of the

Forbearance Agreement.

       3.      The operation of the Holdback Account and the General Receipt Subaccount,

including but not limited to the amount of money that flows to the City from the General

Receipts Subaccount.

       4.      The terms of the Collateral Agreement.

       5.      The occurrence of any Events of Default, Termination Events, or Early

Termination Events under the Forbearance Agreement or any Transaction Documents.

       6.      Communications with US Bank, the Swap Counterparties, and/or the City

regarding the Operation of the Collateral Agreement.

       7.      The City’s efforts to negotiate with Syncora.

       8.      Communications with FGIC regarding the Forbearance Agreement, the Swap

Agreement, or the Collateral Agreement.

       9.      The City’s Motion for a Temporary Restraining Order.




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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

                                                       )
In re                                                  ) Chapter 9
                                                       )
CITY OF DETROIT, MICHIGAN,                             ) Case No. 13-53846
                                                       )
                              Debtor.                  ) Hon. Steven W. Rhodes
                                                       )

    SYNCORA GUARANTEE INC., AND SYNCORA CAPITAL ASSURANCE INC.’S
     NOTICE OF DEPOSITION TO DETROIT GENERAL RETIREMENT SYSTEM
                        SERVICE CORPORATION

        PLEASE TAKE NOTICE THAT, pursuant to Local Rule 7026-3 of the United States

Bankruptcy Court of the Eastern District of Michigan and Rules 26 and 30(b)(6) of the Federal

Rules of Civil Procedure, Syncora Holdings Ltd., Syncora Guarantee Inc. and Syncora Capital

Assurance Inc. (collectively, “Syncora”) will take the deposition upon oral examination of the

Detroit General Retirement System Service Corporation (“DGRS Service Corporation”) at 9:00

am EST on August 9, 2013 at the law offices of Mantese Honigman Rossman and Williamson,

P.C., 1361 E. Big Beaver Rd., Troy, Michigan 48083 or at such other time and place as may be

agreed upon by counsel for the parties. The deposition will be recorded by videotape and

stenographer. The deposition will continue from day to day until completed.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 30(b)(6), the DGRS

Service Corporation is required to designate and produce one or more officers, directors,

managing agents, or other persons who consent to testify on its behalf with respect to the matters

set forth in Schedule A. The person(s) so designated shall be required to testify as to each of

those matters known or reasonably available to the DGRS Service Corporation.




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13-53846-tjt     Doc 142-6    Filed 07/24/13     Entered 07/24/13 00:24:59        Page 33 of 66
Dated: July 23, 2013            /s/ Ryan Blaine Bennett
                                James H.M. Sprayregen, P.C.
                                Ryan Blaine Bennett
                                Stephen C. Hackney
                                KIRKLAND & ELLIS LLP
                                300 North LaSalle
                                Chicago, Illinois 60654
                                Telephone:     (312) 862-2000
                                Facsimile:     (312) 862-2200
                                       - and -
                                Stephen M. Gross
                                David A. Agay
                                Joshua Gadharf
                                MCDONALD HOPKINS LLC
                                39533 Woodward Avenue
                                Bloomfield Hills, MI 48304
                                Telephone:    (248) 646-5070
                                Facsimile:    (248) 646-5075

                                Attorneys for Syncora Guarantee Inc. and Syncora Capital
                                Assurance Inc.




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                                         SCHEDULE A

                                         DEFINITIONS

        1.      The terms “you” or “DGRS Service Corporation” shall mean the Detroit General

Retirement System Service Corporation, or any other persons or entities acting or purporting to

act for or on its behalf.

        2.      The terms “The City of Detroit” or the “City” mean the Debtor City of Detroit, or

any other persons or entities acting or purporting to act for or on its behalf, including, but not

limited to, Emergency Manager Kevyn Orr and his advisors.

        3.      The term “Syncora” means Syncora Holdings Ltd., Syncora Guarantee Inc. and

Syncora Capital Assurance Inc.

        4.      The term “FGIC” shall mean Financial Guaranty Insurance Company.

        5.      “Service Corporations” means the Detroit Police and Fire Retirement System

Service Corporation and the Detroit General Retirement System Service Corporation, as defined

in paragraph 11 of the Motion of Debtor for Entry of an Order (i) Authorizing the Assumption of

that Certain Forbearance and Optional Termination Agreement Pursuant to Section 365(a) of

the Bankruptcy Code, (ii) Approving Such Agreement Pursuant to Rule 9019, and (iii) Granting

Related Relief [Docket No. 17] (“Motion to Assume Forbearance Agreement”).

      6.        “Swap Counterparty” shall have the definition given that term in the Forbearance
Agreement.

        7.      “U.S. Bank” shall mean U.S. Bank National Association.

        8.      The term “Forbearance Agreement” means the Forbearance and Optional

Termination Agreement executed as of July 15, 2013 and attached as Exhibit 6 to the Motion to

Assume Forbearance Agreement.




13-53846-tjt      Doc 142-6    Filed 07/24/13    Entered 07/24/13 00:24:59        Page 35 of 66
       9.      The term “Collateral Agreement” has the meaning given that term in Forbearance

Agreement.

       10.     The term “Transaction Documents” has the meaning given that term in the

Forbearance Agreement.

       11.     The term “Holdback Account” has the meaning given that term in the Collateral

Agreement.

       12.     The term “General Receipts Subaccount” has the meaning given that term in the

Collateral Agreement.

       13.     The term “Termination Rights” has the meaning given that term in the

Forbearance Agreement.

       14.     The term “Motion for a Temporary Restraining Order” shall mean the action

described in paragraph 25 of the Motion to Assume Forbearance Agreement.

       15.     “Concerning,” “relating to,” and “referring to” are synonymous for the purposes

of these Requests, and mean reflecting, describing, evidencing, constituting, containing, alluding

to, germane to, mentioning, analyzing, setting forth, summarizing, characterizing, contradicting,

incorporating, affecting, including or otherwise pertaining—either directly or indirectly—to the

subject matter of the inquiry.

       16.     The terms “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive. The singular form of a noun or

pronoun includes the plural form and vice versa.

       17.     The terms “including,” “include” or “includes” mean including, but not limited to.

       18.     The terms “each,” “any,” and “all” shall be construed to mean “each and every.”

       19.     The use of the singular form of a noun includes the plural form, and vice versa.




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                                    DEPOSITION TOPICS

       1.      The Forbearance Agreement, including but not limited to its terms and the City’s

ability to exercise the Termination Right.

       2.      The negotiations regarding the Forbearance Agreement, including but not limited

to the participants in those negotiations, the decision to enter into the Forbearance Agreement,

and any non-disclosure agreement entered into with any party relating to the negotiations of the

Forbearance Agreement.

       3.      The operation of the Holdback Account and the General Receipt Subaccount,

including but not limited to the amount of money that flows to the City from the General

Receipts Subaccount.

       4.      The terms of the Collateral Agreement.

       5.      The occurrence of any Events of Default, Termination Events, or Early

Termination Events under the Forbearance Agreement or any Transaction Documents.

       6.      Communications with US Bank, the Swap Counterparties, and/or the City

regarding the Operation of the Collateral Agreement.

       7.      The City’s efforts to negotiate with Syncora.

       8.      Communications with FGIC regarding the Forbearance Agreement, the Swap

Agreement, or the Collateral Agreement.

       9.      The City’s Motion for a Temporary Restraining Order.




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN

                                                      )
In re                                                 ) Chapter 9
                                                      )
CITY OF DETROIT, MICHIGAN,                            ) Case No. 13-53846
                                                      )
                              Debtor.                 ) Hon. Steven W. Rhodes
                                                      )

   SYNCORA GUARANTEE INC., AND SYNCORA CAPITAL ASSURANCE INC.’S
      NOTICE OF DEPOSITION TO U.S. BANK NATIONAL ASSOCIATION

        PLEASE TAKE NOTICE THAT, pursuant to Local Rule 7026-3 of the United States

Bankruptcy Court of the Eastern District of Michigan and Rules 26 and 30(b)(6) of the Federal

Rules of Civil Procedure, Syncora Holdings Ltd., Syncora Guarantee Inc. and Syncora Capital

Assurance Inc. (collectively, “Syncora”) will take the deposition upon oral examination of U.S.

Bank National Association (“U.S. Bank”) at 9:00 am EST on August 9, 2013 at the law offices

of Mantese Honigman Rossman and Williamson, P.C., 1361 E. Big Beaver Rd., Troy, Michigan

48083 or at such other time and place as may be agreed upon by counsel for the parties. The

deposition will be recorded by videotape and stenographer. The deposition will continue from

day to day until completed.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 30(b)(6), U.S. Bank is

required to designate and produce one or more officers, directors, managing agents, or other

persons who consent to testify on its behalf with respect to the matters set forth in Schedule A.

The person(s) so designated shall be required to testify as to each of those matters known or

reasonably available to U.S. Bank.




13-53846-tjt    Doc 142-6     Filed 07/24/13     Entered 07/24/13 00:24:59       Page 38 of 66
Dated: July 23, 2013            /s/ Ryan Blaine Bennett
                                James H.M. Sprayregen, P.C.
                                Ryan Blaine Bennett
                                Stephen C. Hackney
                                KIRKLAND & ELLIS LLP
                                300 North LaSalle
                                Chicago, Illinois 60654
                                Telephone:     (312) 862-2000
                                Facsimile:     (312) 862-2200
                                       - and -
                                Stephen M. Gross
                                David A. Agay
                                Joshua Gadharf
                                MCDONALD HOPKINS LLC
                                39533 Woodward Avenue
                                Bloomfield Hills, MI 48304
                                Telephone:    (248) 646-5070
                                Facsimile:    (248) 646-5075

                                Attorneys for Syncora Guarantee Inc. and Syncora Capital
                                Assurance Inc.




                                            2
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                                           SCHEDULE A

                                           DEFINITIONS

       1.      The term “you” shall mean U.S. Bank National Association (“U.S. Bank”) or any

other persons or entities acting or purporting to act for or on its behalf.

       2.      The terms “The City of Detroit” or the “City” mean the Debtor City of Detroit, or

any other persons or entities acting or purporting to act for or on its behalf, including, but not

limited to, Emergency Manager Kevyn Orr and his advisors.

       3.       “Service Corporations” means the Detroit Police and Fire Retirement System

Service Corporation and the Detroit General Retirement System Service Corporation, as defined

in paragraph 11 of the Motion of Debtor for Entry of an Order (i) Authorizing the Assumption of

that Certain Forbearance and Optional Termination Agreement Pursuant to Section 365(a) of

the Bankruptcy Code, (ii) Approving Such Agreement Pursuant to Rule 9019, and (iii) Granting

Related Relief [Docket No. 17] (“Motion to Assume Forbearance Agreement”).

      4.       “Swap Counterparty” shall have the definition given that term in the Forbearance
Agreement.

       5.      The term “Forbearance Agreement” means the Forbearance and Optional

Termination Agreement executed as of July 15, 2013 and attached as Exhibit 6 to the Motion to

Assume Forbearance Agreement.

       6.      The term “Collateral Agreement” has the meaning given that term in the

Forbearance Agreement.

       7.      The term “Transaction Documents” has the meaning given that term in the

Forbearance Agreement.

       8.      The term “Termination Rights” has the meaning given that term in the

Forbearance Agreement.


                                                   3
13-53846-tjt     Doc 142-6      Filed 07/24/13      Entered 07/24/13 00:24:59     Page 40 of 66
       9.      “Concerning,” “relating to,” and “referring to” are synonymous for the purposes

of these Requests, and mean reflecting, describing, evidencing, constituting, containing, alluding

to, germane to, mentioning, analyzing, setting forth, summarizing, characterizing, contradicting,

incorporating, affecting, including or otherwise pertaining—either directly or indirectly—to the

subject matter of the inquiry.

       10.     The terms “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive. The singular form of a noun or

pronoun includes the plural form and vice versa.

       11.     The terms “including,” “include” or “includes” mean including, but not limited to.

       12.     The terms “each,” “any,” and “all” shall be construed to mean “each and every.”

       13.     The use of the singular form of a noun includes the plural form, and vice versa.



                                     DEPOSITION TOPICS

       1.      Discussions within U.S. Bank and between U.S. Bank and the City, Swap

Counterparties, or Service Corporations regarding the City and Service Corporations’ obligations

under the Transaction Documents..

       2.      U.S. Bank’s knowledge and involvement in any negotiations between the City

and the Swap Counterparties regarding the Forbearance Agreement.

       3.      U.S. Bank’s knowledge of the terms of the Forbearance Agreement.

       4.      U.S. Bank’s understanding of and actions under any Section of the Collateral

Agreement, including but not limited to Section 5.4.




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

CITY OF DETROIT,
a Municipal Corporation Organized
and Existing Under the Laws of the
State of Michigan,

                 Plaintiff,                    Case No.: 2:13-cv-12987-LPZ-
                                               MKM
       v.
                                               Hon. Lawrence P. Zatkoff
SYNCORA GUARANTEE INC.,
a New York Corporation,
and
U.S. BANK, N.A.,

and
MGM GRAND DETROIT, LLC,

and

DETROIT ENTERTAINMENT, LLC,
d/b/a MOTORCITY CASINO
HOTEL,
and

GREEKTOWN CASINO, LLC,
                 Defendants.


DEFENDANT SYNCORA GUARANTEE INC.’S EMERGENCY MOTION
  TO DISSOLVE THE TEMPORARY RESTRAINING ORDER AND
            CONDUCT EXPEDITED DISCOVERY
       Blatantly disregarding the law, the terms of its agreements, and the facts, on

July 5, 2013, the City of Detroit (the “City”) filed a Motion for an Ex Parte


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Temporary Restraining Order and an Order to Show Cause Why a Preliminary

Injunction Should Not Issue (the “Motion”). Though the Motion paints the City as

a victim pushed to the brink of financial disaster by Syncora Guarantee Inc.

(“Syncora”), the City’s Motion tells just half the story, conveniently

mischaracterizing or omitting those parts that would reflect poorly on the City and

its Emergency Financial Manager, Mr. Kevyn Orr. To make matters worse, the

City sought the temporary restraining order on an ex parte basis, despite the fact

that Syncora’s counsel was not only known to the City, but had been sitting across

the table from the City’s lawyers just days before. Without Syncora standing next

to it at the podium pointing out the egregious misrepresentations and omissions

contained in its papers, the City easily obtained a TRO that destroyed the

status quo by releasing $15 million in collateral funds that the insolvent City

presumably has dissipated, never to be recovered. Syncora now brings the instant

motion pursuant to Rules 65(b)(4) and 26(d)(1) and respectfully requests that the

Court grant its motion dissolving the temporary restraining order and seeking

expedited discovery regarding the City’s allegations and restore the status quo ante

by ordering the City to return to the General Receipts Subaccount the funds that

U.S. Bank was ordered to release.

      Counsel for Syncora hereby certifies pursuant to Local Rule 7.1(a)(2) and

37.1 that Stephen C. Hackney, counsel for Syncora, attempted to confer with


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counsel for the City and U.S. Bank, N.A. (“U.S. Bank”). On July 11, 2013,

Stephen Hackney, litigation counsel for Syncora, sent an email to Robert

Hertzberg, Thomas F. Cullen, and Gregory Shumaker as counsel for the City,

requesting their agreement that the Parties engage in expedited discovery and

noting the emergency nature of the request. The same email was also sent to

William Smith, counsel to U.S. Bank. U.S. Bank indicated that it was unable to

concur in the motion, given its role as custodian. Counsel for Syncora and Counsel

for the City held a telephone conference at 1:30 pm Eastern Time and again at 2:00

pm Eastern Time.      During those calls, Mr. Hackney explained the nature of

Syncora’s motion and request and asked the City’s attorneys if they would be

willing to dissolve the temporary restraining order, restore the monies distributed

from the account, and agree to an expedited discovery schedule. The City’s

attorneys indicated that they would probably be amenable to dissolving the

temporary restraining order but would not be willing to restore the funds to the

General Receipts Subaccount. Mr. Hackney explained that this condition was

necessary to restore the status quo ante; however, the City still refused to concur in

this action. At the conclusion of the call, the City’s attorneys stated that Syncora

could represent to the Court that the City did not agree to restore the status quo

ante or to an expedited discovery schedule.




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      BRIEF IN SUPPORT OF SYNCORA’S EMERGENCY MOTION

                                  Issues Presented
      1.       Whether the Court should dissolve a temporary restraining order that

was obtained under false pretenses and is legally deficient on its face.

      2.       Whether good cause exists for expedited discovery given the

expedited nature of the injunctive proceedings and the fact that the City’s

amorphous and conclusory allegations are wholly lacking in detailed factual

support.




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Relevant Authority

The Court Should Dissolve the Temporary Restraining Order

      Federal Rule of Civil Procedure 65(b)(4) states that “[o]n two days’ notice to

the party who obtained the order without notice—or on shorter notice set by the

court—the adverse party may appear and move to dissolve or modify the order.”

Good Cause Exists for Expedited Discovery in Injunctive Proceedings

      Federal Rule of Civil Procedure 26(d)(1) states that “[a] party may not seek

discovery from any source before the parties have conferred as required by Rule

26(f), except in a proceeding exempted from initial disclosure under Rule

26(a)(1)(B), or when authorized by these rules, by stipulation, or by court order.”

      The 1993 advisory committee notes to Rule 26 state that orders authorizing

expedited discovery “will be appropriate in some cases, such as those involving

requests for a preliminary injunction.”

      Ellsworth Associates, Inc. v. United States, 917 F. Supp. 841, 844 (D. D.C

1996), states that “[e]xpedited discovery is particularly appropriate when a plaintiff

seeks injunctive relief because of the expedited nature of injunctive proceedings.”

See also U.S. Securities and Exchange Commission v. Wilson, 2012 WL 5874456,

at *4 (E.D. Mich. Nov. 20, 2012).




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I.    THE COURT SHOULD DISSOLVE THE TEMPORARY
      RESTRAINING ORDER THAT THE CITY OBTAINED ON AN EX
      PARTE BASIS.
      A.       The City’s Sharp Tactics Lead to the Entry of a Breathtakingly
               Broad Temporary Restraining Order on an Ex Parte Basis.
      As the City tells it, it had no choice but to file the Motion after Syncora

allegedly “instructed” U.S. Bank to trap the funds in the General Receipts

Subaccount. (Mot. at 7-9.) According to the City, after the cash trapping began,

settlement negotiations were held that were not “productive” because Syncora

declined to make a “proposal.” (Id. at 8.) Claiming that it faced financial ruin if

the funds in the General Receipts Subaccount were not released, the City filed a

Motion asking a court to do just that. (Id. at 10-13.)

      Significantly, the City never provided Syncora with notice of this Motion.

(Ex. A, Snyder Dec., ¶ 12; Ex. B, Schwarzman Dec., ¶ 7.) The failure to give

notice in this instance is particularly offensive because Syncora’s counsel were not

only known to the City, they had met with the City to discuss the issues between

the parties just days earlier. (Ex. A, Snyder Dec., ¶ 11; Ex. B, Schwarzman Dec.,

¶¶ 4-5.) And Mr. Orr’s affidavit nowhere explains what emergency faced the City

that was so compelling that it could not wait even an hour or two to see if any of

the half-dozen Syncora lawyers known to the City could be raised by email or

telephone. It is now clear why — the City knew that Syncora would be able to

expose the City and reveal to the court the falsehoods and half-truths littered

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throughout the Motion.1 Because of the City’s less than forthright tactics, Syncora

was not present at the hearing and thus unable to contradict the City’s innacurate

version of events.

        Central to the City’s case is Syncora’s June 17th letter to U.S. Bank.

According to the City, Syncora’s letter “instructed” U.S. Bank to trap the funds in

the General Receipts Subaccount and, by doing so, Syncora tortiously interfered

with the City’s contractual and business relations.                           (Mot. at 7 (claiming that

Syncora “demanded” that U.S. Bank trap in the General Receipts Subaccount all

monies that would otherwise flow to the City).) And yet even a cursory review of

the letter reveals that Syncora never instructed or demanded that U.S. Bank take

any action. (See Ex. D to Orr. Aff., 6/17/13 letter from C. LeBlanc to S. Brown.)

In fact, the letter merely memorializes a prior conversation between Syncora and

U.S. Bank in which U.S. Bank expressed its independent view that the Service

Corporation’s default in not making a $40 million payment to the Certificate of

Participation holders triggered a cross-default under the Swap Agreement which

led to automatic cash trapping under the Collateral Agreement. (Id.) U.S. Bank

has never disputed that that conversation took place. (See, e.g., Ex. E to Orr Aff.,

6/24/13 email from W. Smith (U.S. Bank).)


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  An additional reason the City likely did not notify Syncora is that it feared Syncora would immediately see through
the City’s transparently fraudulent joinder of the non-diverse Casino Defendants and remove the case. (See
Syncora’s Notice of Removal to United States District Court, filed on July 11, 2013.)


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      The City’s misrepresentations regarding the impact of the letter do not end

there. Ignoring the unambiguous language of the Collateral Agreement, the City

claims that the cash trap occurs only when a party to the Collateral Agreement

demands it. (Mot. at 16.) The Collateral Agreement clearly states, however, that,

the cash trap occurs automatically upon an Event of Default under a Hedge. The

language is unambiguous:

      Section 5.4            When Payments from General Receipts Subaccount
                             Prohibited

               (a)   No payment shall be made to the City from the General
                     Receipts Subaccount

                     (i)     on and after the Term Period End Date or

                     (ii)    on or after the occurrence of a Termination Event under a
                             Hedge where the related [Swap] Counterparty is not the
                             sole Affected Party except as otherwise permitted by
                             subsection (b), below or

                     (iii)   while an Event of Default is continuing under a Hedge
                             where the related [Swap] Counterparty is not the sole
                             Defaulting Party.

(Ex. B to Orr. Aff, Collateral Agreement § 5.4(a)(i)-(iii) (emphasis added).) No

provision in the Collateral Agreement requires that section 5.4’s provisions be

invoked by notice — to the contrary, the provision operates automatically by

design. Thus, there was nothing sinister or improper about Syncora’s letter to the

U.S. Bank. Syncora simply confirmed that U.S. Bank acted in accordance with the



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Collateral Agreement and enacted a procedure meant to protect Syncora and the

Swap Counterparties from the City’s inability to meet its financial obligations.

      In addition to the contents of the letter and the operation of the Collateral

Agreement, the City also misrepresents the parties’ discussions surrounding it. In

its Motion, the City claims that discussions with Syncora had stalled and that, if the

Court did not immediately grant the City’s Motion, the City would suffer

irreparable harm. (Mot. at 8, 10-13.) This claim is false on a number of different

levels.

      To begin, Syncora was not unwilling to negotiate with the City. In fact, it

was Syncora who suggested that the parties work together to resolve the dispute

consensually. (See Ex. H to Orr. Aff., 6/26/13 letter from C. LeBlanc to K. Orr

(“As we have already communicated to your representatives, we are open to

exploring the possibility of a mutually satisfactory resolution of the issues

surrounding the revenues in the General Receipts Subaccount.”).)

      In addition, the negotiations between the City and Syncora had not stalled.

To the contrary, they had barely begun when the City filed its Motion. (Ex. A,

Snyder Dec., ¶¶ 7-12; Ex. B, Schwarzman Dec., ¶¶ 3-7.) Indeed, the parties were

in the process of executing a non-disclosure agreement (“NDA”) that would have

allowed them to commence the negotiations in earnest. (Ex. A, Snyder Dec., ¶¶

10-12; Ex. B, Schwarzmann Dec., ¶¶ 3-7.) Contrary to the City’s suggestion that


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“no proposal was forthcoming” from Syncora, the facts will show that Syncora was

never able to make its proposal because the City curiously refused to agree to a

standard NDA that would have required the City to hold the proposal in

confidence. (Ex. B, Schwarzman Dec., ¶ 5.)

      The City’s inexplicable refusal to agree to an industry-standard term of a

vanilla NDA, viewed in hindsight, reveals that the City and Mr. Orr never intended

to engage in good-faith negotiations in the first place. Instead, the City used the

carrot of further negotiations to string Syncora along and lull it into a false sense of

security — all while the City was surreptitiously preparing its Motion.

      Indeed, the City revealed its true intentions on July 5th — the Friday of the

July 4th holiday weekend. That afternoon, the City filed the Motion and requested

an immediate ex parte hearing for its temporary restraining order. At the hearing,

the City claimed that it did not have time to notify Syncora of the Motion and the

hearing. (See Ex Parte Restraining Order and Order to Show Cause Why A

Preliminary Injunction Should Not Issue (“Ex Parte Restraining Order”), ¶ 6.)

Like many of the City’s statements, this too was false.

      In fact, the City had been communicating with Syncora’s counsel on an

almost daily basis as the parties negotiated an NDA aimed at furthering

discussions.    (Ex. A, Snyder Dec., ¶ 11; Ex. B, Schwarzman Dec., ¶ 4.)

Nevertheless, before filing a Motion that it had obviously prepared many days in


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advance, the City made no effort to contact Syncora. (Ex. A, Snyder Dec., ¶ 12;

Ex. B, Schwarzman Dec., ¶ 7.) It did not pick up the phone. (Ex. A, Snyder Dec.,

¶ 12; Ex. B, Schwarzman Dec., ¶ 7.) Nor did it send an email. (Ex. A, Snyder

Dec., ¶ 12; Ex. B, Schwarzman Dec., ¶ 7.) Not surprisingly, the City never

explains why it could not have done so. The Motion papers are long and detailed

and were clearly in the works days before July 5th. And yet no one gave Syncora’s

counsel a courtesy call advising them that the Motion was coming. (Ex. A, Snyder

Dec., ¶ 12; Ex. B, Schwarzman Dec., ¶ 7.) Conveniently though, the City had no

difficulties emailing Syncora the temporary restraining order just minutes after it

had been entered. (Ex. A, Snyder Dec., ¶ 12; Ex. B, Schwarzman Dec., ¶ 7)

      Despite the wholly improper nature of the City’s tactics, its strategy

succeeded.     With no party present to contest the City’s half-truths, the court

entered an order granting the City’s requested relief. (See Ex Parte Restraining

Order.) In doing so, however, the court issued a temporary restraining order that is

breathtaking in a number of respects.

      First, the impetus for the court’s temporary restraining order is Syncora’s

letter to U.S. Bank. (Id ¶ 1.) Significantly though, the court’s order contains no

findings that Syncora’s letter was improper, untruthful, or in violation of any of the

numerous agreements to which Syncora is a party. Nor does the City allege that

anything Syncora said in its letter was untrue. In other words, the court has


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penalized Syncora — a direct and third-party beneficiary to the agreements making

up the COPs/Swap structure with hundreds of millions of dollars at risk — for

sending an entirely truthful letter to U.S. Bank on the subject of a Collateral

Agreement that is fundamental to the entire structure.

      Second, the court’s temporary restraining order did not preserve the status

quo, it destroyed it.      Where, as here, an event of default has occurred, the

Collateral Agreement automatically acts to bar distributions from the General

Receipts Subaccount. (See Ex. B to Orr. Aff, Collateral Agreement § 5.4(a)(i)-

(iii).) Thus, the status quo ante just prior to the filing of the Motion was that U.S.

Bank was properly trapping cash under section 5.4 of the Collateral Agreement.

The court’s temporary restraining order violates the provisions of this agreement

and allows the funds in the General Receipts Subaccount to flow out and be

dissipated by the allegedly insolvent City of Detroit which, in turn, causes

irreparable harm to Syncora. The state court thus destroyed the status quo and

allowed $15 million to be distributed to the City without even giving Syncora a

chance to be heard. Worse, the Court found the City need not provide a bond to

protect Syncora in the interim.

      Third, the temporary restraining order states that it “shall remain in full force

and effect until this Court specifically orders otherwise.” (Ex Parte Restraining

Order at 3.) Yet, under Michigan law, a temporary restraining order may not


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exceed 14 days except for good cause shown. MICH. COMP. LAWS § 3.310(B)(3).

In its order, however, the court never stated that it had good cause to extend the

time that the temporary restraining order remained in effect.            (See Ex Parte

Restraining Order.)

      Fourth, the temporary restraining order is written so broadly that it actually

restricts Syncora’s rights under the relevant contracts and the First Amendment.

Read literally, the terms of the temporary restraining order do not allow Syncora to

publicly express its view regarding how the Collateral Agreement should operate.

(Id. at 3.) For example, in even suggesting (without basis) that the court fashion a

remedy allowing the City to evade its Irrevocable Instructions, the City has

violated section 5.1(b) of the Collateral Agreement, which prohibits it from taking

“any action to redirect the revenues contrary to the Irrevocable Instructions.” This

in turn constitutes a new default under section 5(a)(iii)(3) of the Swap, which

should automatically trap cash under section 5.4(a)(iii) of the Collateral

Agreement. Under the temporary restraining order, Syncora is forbidden from

making observations to U.S. Bank regarding these developments. As such, the

temporary restraining order is a stunning display of prior restraint.




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      B.       The City’s Legal Theory Wholly Ignores Critical Amendments to
               the Swap Agreement that Establish Syncora’s Right to Consent to
               any Waivers to the Collateral Agreement’s Automatic Cash
               Trapping Provisions.
      The City’s claims are based on its apparent belief that the Collateral

Agreement does not provide Syncora with “the right to direct the custodian’s

conduct with respect to the collateral.” (See, e.g., Mot. at 15.) According to the

City, because Syncora has no such rights, its alleged interference with the City’s

contractual and business relations was unjustified and improper. (Id. at 16-18.)

The City ignores, however, that Syncora has consent rights regarding the waiver

and amendment of provisions under the Collateral Agreement via the Swap

Agreements. Moreover, these rights arose specifically in connection with the 2009

transaction that led to the creation of the Collateral Agreement in the first instance.

Syncora’s consent rights arose in the following manner.

      Part 3(d) of the Amended and Restated Schedule to the 1992 ISDA Master

Agreement (the “Amended Swap”) provides that the Collateral Agreement is one

of two “Credit Support Documents.” (Ex. C, Amended Swap.) Part 5(d) of the

Amended Swap then modifies Section 8(b) of the ISDA Master Agreement (the

“Swap”). (Ex. D, the Swap.) Part 5(d) amended Section 8(b) so that it now reads

as follows:

      No amendment, modification or waiver in respect of this
      Agreement or any Credit Support Document [e.g., the Collateral
      Agreement] will be effective unless in writing (including a writing

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      evidenced by a facsimile transmission) and executed by each of the
      parties and the Swap Insurer [e.g., Syncora] or confirmed by an
      exchange of telexes or electronic messages on an electronic
      messaging system.

Part 5(k) of the Amended Swap further states:

      Party A [Swap Counterparty] and Party B [Service Corporation]
      hereby each acknowledge and agree that the Swap Insurer shall be an
      express third-party beneficiary (and not merely an incidental third
      party beneficiary) of this Agreement and of the obligations of each
      such party under any Insured Rate Swap Transaction, and as such,
      entitled to enforce the Agreement and the terms of any such Insured
      Rate Swap Transaction against such party on its own behalf and
      otherwise shall be afforded all remedies available hereunder or
      otherwise afforded by law against the parties hereto to redress any
      damage or loss incurred by the Swap Insurer.
(Ex. C, Amended Swap, Part 5(k).)

      Read together, these provisions make clear that the provisions of the

Collateral Agreement cannot be amended, waived, or modified unless (1) done in

writing and (2) that writing is executed by the parties and Syncora. Syncora is

further able to enforce this term of the Swap via the express enforcement rights it is

provided under the Amended Swap. (Id.)

      As a result, the City is incorrect to claim that Syncora has no right to direct

U.S. Bank’s conduct, even if Syncora had done so, which it did not. In fact,

U.S. Bank could not take any action that was in conflict with the express terms of

the Collateral Agreement — i.e., releasing funds from the General Receipts

Subaccount after an Event of Default under a Hedge — without first obtaining the

consent of Syncora, even where, as here, the Swap Counterparties have apparently
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been secretly waiving the cash trapping requirements of section 5.4 of the

Collateral Agreement. (Ex. A, Snyder Dec., ¶ 7.)

      In yet another display of a surprising lack of candor with the state court, the

City never mentioned these provisions in its papers and worse, never attached the

amended Swap Agreement to its pleadings. The City thus purposely left the state

court in the dark regarding the central legal provision that defeats the City’s

claims. It is obvious that the City did not want Syncora’s counsel in attendance on

July 5, 2013, because it knew Syncora’s counsel would give the lie to the entire

premise of the City’s Verified Complaint.

      C.       The City Failed to Demonstrate that It was Entitled to Injunctive
               Relief.
      Courts consider injunctive relief to be an extraordinary remedy that is

necessary only where justice requires, an adequate remedy at law does not exist,

and there is real and imminent danger of irreparable injury. Kernen v. Homestead

Dev. Co., 232 Mich. App. 503, 509 (1998). To determine whether injunctive relief

is necessary, courts weigh “(1) the likelihood that the party seeking the injunction

will prevail on the merits; (2) the danger that the party seeking the injunction will

suffer irreparable harm if the injunction is not issued; (3) the risk that the party

seeking the injunction would be harmed more by the absence of the injunction than

the opposing party would be by the granting of the relief; and (4) the harm to the

public interest if the injunction is issued.” Michigan AFSCME Council 25 v.

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Woodhaven-Brownstown Sch. Distr., 293 Mich. App. 143, 148 (2011).                     As

demonstrated above, all four of these factors weigh in favor of Syncora.

      First, the City is not likely to prevail on the merits of its claims. The

complaint upon which the TRO was issued descends entirely from the premise that

Syncora has no rights with respect to the Collateral Agreement at issue. That

premise is clearly and unambiguously refuted by Section 8(b) of the Amended

Swap Agreement, which clearly gives Syncora the right to consent to any waivers,

modifications, or amendments of the Collateral Agreement.

      Second, the City’s irreparable harm allegations are amorphous and

unsubstantiated. The City’s generalized liquidity crisis is years in the making and

does not constitute “irreparable” harm attributable to Syncora. Nor does the City

explain how Syncora’s truthful letter has “constrained” its ongoing negotiations.

Furthermore, Syncora was not, as the City claims, even responsible for the cash

trap — that procedure was meant to operate automatically under the Collateral

Agreement.

      Third, while the City has failed to specify what harm, if any, it suffered as a

result of the cash trap, Syncora’s irreparable harm is obvious and quantifiable —

collateral that should be trapped is being dissipated by an insolvent City, never to

be recovered.




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         Fourth, the City failed to demonstrate any harm to the public interest that

was not already occurring due to the fact that the City currently is insolvent and

unable to pay its debts when they become due.              The greater public harm is

permitting a public official — who has no check on his power — to act outside the

bounds of the law and attempt to violate Syncora’s First Amendment and

contractual rights. No matter how dire the circumstances, the rule of law must

apply.

II.      THE CITY’S AMORPHOUS FACTUAL ALLEGATIONS REQUIRE
         EXPEDITED DISCOVERY.

         A.    The City’s Motion and Complaint Lack the Factual Information
               Necessary to Assess the City’s Claim for Injunctive Relief.
         At the heart of this case is the letter that Syncora delivered to U.S. Bank on

June 17, 2013. Though this letter simply informed U.S. Bank that the Service

Corporation’s failure to make scheduled payments constituted an event of default

that automatically operated to bar distributions from the General Receipts

Subaccount (Ex. D to Orr. Aff.), the City claims that the alleged impact of this

letter — the trapping of the cash in the General Receipts Subaccount — would

cause it irreparable harm unless the court issued injunctive relief. (Mot. at 10-13.)

In support of this argument, the City’s Motion and Verified Complaint attempt to

explain (a) the harm that it will suffer; (b) whether that harm is irreparable; (c) the

City’s likelihood of success on the merits; and (d) the harm to the public interest.


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(Id. at 10-19.) Notably though, for each of these factors, the City fails to provide

the information necessary to determine whether a preliminary injunction should

issue.

               i.    The City Fails to Provide All of the Information That Is
                     Necessary to Determine the Harm that the City Will Suffer
                     and Whether that Harm is Irreparable.
         In its Motion and Complaint, the City argues that it will suffer irreparable

harm unless the Court issues a temporary restraining order and preliminary

injunction. (Id. at 10-13.) Except for a few conclusory statements, however, the

City never explains how and why it would suffer irreparable harm.

         For example, the City claims that the cash trap has “greatly constrained” the

Emergency Manager’s ability to engage in discussions with City stakeholders and

will cause the City to lose unique and irreplaceable opportunities to settle with the

stakeholders. (Id. at 10-11.) Apparently, Syncora and the Court are expected to

take Mr. Orr at his word, because his affidavit does not detail the negotiations nor

explain how the City has been “greatly constrained,” making it difficult to assess

whether and how Syncora’s two-paragraph confirmatory letter has caused

irreparable harm. Nor does the City explain which stakeholder demands, if any,

the City will not be able to meet as a result of the cash trap.

         In addition, the City claims that its negotiations with the Swap

Counterparties “are particularly at risk without intervention by the Court.” (Id. at


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11.) According to the City, the Emergency Manager had reached an agreement in

principle with the Swap Counterparties that the cash trap threatened to destroy.

(Id.) This is news to Syncora, which has been wholly and unjustifiably excluded

from the City’s negotiations with the Swap Counterparties            negotiations with

which it is now alleged to have tortiously interfered. (Ex. A, Snyder Dec., ¶ 7.)

Consistent with the theme, the City does not provide any information about the

negotiations between the parties or the terms of the tentative agreement. Without

this information, it is impossible to assess the City’s claim that the cash trap

actually threatens the City’s negotiations with the Swap Counterparties and, if so,

how much harm it would cause.

      Finally, the City claims that its “inability to access the Casino Revenues has

immediate consequences for its ability to provide even basic city services such as

police, fire, and emergency medical services.” (Mot. at 12.) Despite this dire

prediction, the City does not identify exactly what those “immediate

consequences” are, what services it would not be able to provide, and when it

would need to cut them.

               ii.   The City Fails to Provide All of the Information That Is
                     Necessary to Determine Whether the City is Likely to
                     Succeed on the Merits of its Claims.
      In its Motion and Complaint, the City argues that it is likely to succeed on

the merits of its declaratory judgment and tortious interference claims. For both of


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these claims, however, the City fails to provide essential information that is

necessary to assess the City’s likelihood of success.

      First, the City claims that it is likely to succeed on the merits of its

declaratory judgment claim regarding rights under the Collateral Agreement. (Id.

at 15-16.) According to the City, notwithstanding the unambiguous language

requiring cash-trapping, Syncora was wrong to request after-the-fact confirmation

of   U.S. Bank’s    independent    determination    that it    had a duty, under

Section 5.4(a)(iii) of the Collateral Agreement, to withhold funds in the event of a

cross-default under the Swap Agreement. (Id. at 16.) And yet, in support of this

argument, the City does not provide any evidence demonstrating the duties of

U.S. Bank or how it would have handled the Event of Default without Syncora’s

letter. Nor does the City rebut Syncora’s claim that U.S. Bank expressed its

intention to trap cash prior to Syncora’s letter. (See Ex. D to Orr Aff., 6/17/13

letter from C. LeBlanc to S. Brown.)

      Second, the City claims that it is likely to succeed on the merits of its

tortious interference claims. (Mot. at 17.) In particular, the City claims that it will

be able to establish that Syncora’s letter led to the collapse of the negotiations

between the City and the Swap Counterparties. (Id.) The City never explains,

however, how this letter led to the collapse of the negotiations. Nor does the City

point to any communications from the Swap Counterparties establishing that the


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collapse is attributable to Syncora’s letter. And, most significantly, the City never

identifies any breach of the Collateral Agreement that was caused by Syncora or its

letter.

                iii.   The City Fails to Provide All of the Information That Is
                       Necessary to Determine the Harm to the Public Interest.
          In its Motion and Complaint, the City argues that granting the temporary

restraining order and preliminary injunction will help avoid serious harm to the

public interest. (Id. at 18.) In particular, the City claims that losing access to the

Casino Revenues will (a) frustrate its ability to successfully negotiate with its

stakeholders and (b) lead to the collapse of vital City services. (Id. at 18-19.)

          As noted above, however, the City fails to provide the information necessary

to assess its claim. For example, it does not identify which stakeholders it will lose

the ability to negotiate with.      Similarly, it does not identify which vital City

services will collapse as a result of the cash trap. Instead, the City relies on general

statements — i.e., “Without immediate access to the Casino Revenues, the City

will be unable to move forward with the Emergency Manager’s plan for resolving

the crisis”      that lack any supporting evidence.

          B.    Good Cause Exists for Expedited Discovery.
          As a general rule, “[a] party may not seek discovery from any source before

the parties have conferred as required by Rule 26(f)[.]” FED. R. CIV. P. 26(d)(1).

However, courts have wide discretion with respect to discovery and may order

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expedited discovery prior to a Rule 26(f) upon a showing of good cause. Id.;

Arista Records, LLC v. Does 1-4, 2007 WL 4178641, at *1 (W.D. Mich. Nov. 20,

2007); see also Ellsworth Associates, Inc. v. United States, 917 F. Supp. 841, 844

(D.D.C. 1996).

      The advisory committee notes further explain that orders authorizing

expedited discovery “will be appropriate in some cases, such as those involving

requests for a preliminary injunction.”           FED. R. CIV. P. 26 advisory committee

notes (1993). Much of the case law echoes these advisory notes, as courts have

routinely found that “[e]xpedited discovery is particularly appropriate when a

plaintiff seeks injunctive relief because of the expedited nature of injunctive

proceedings.”     Ellsworth Associates, Inc., 917 F. Supp. at 844; see also Arista

Records, LLC, 2007 WL 4178641, at *1; U.S. Securities and Exchange

Commission v. Wilson, 2012 WL 5874456, at *4 (E.D. Mich. Nov. 20, 2012);

Edudata Corp. v. Scientific Computers, Inc., 599 F. Supp. 1084, 1088 (D. Minn.

1984), aff’d in part, rev’d in part on other grounds, 746 F.2d 429 (8th Cir. 1984)

(ordering expedited discovery on the grounds that “[f]urther development of the

record before the preliminary injunction hearing will better enable to court to judge

the parties’ interests and respective chances for success on the merits”). For this

reason, parties to a preliminary injunction are often able to establish good cause for

expedited discovery. See, e.g., Ellsworth Associates, Inc., 917 F. Supp. at 844.


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      In this case, good cause exists for expedited discovery. First, as discussed

above, the City has failed to include in its Motion and Complaint much of the

information necessary to assess its claim for a preliminary injunction. Expedited

discovery is therefore necessary for the parties to develop the evidentiary record in

advance of the preliminary injunction hearing. Without this discovery, both the

parties and the Court will not be able to assess the parties’ interests and respective

chances for success on the merits. Edudata Corp., 599 F. Supp. at 1088. Second,

because this dispute has arisen in the context of a preliminary injunction, the

parties will not be able to complete all of the necessary discovery unless it is

performed on an expedited schedule. See Ellsworth Associates, Inc., 917 F. Supp.

at 844.    Third, Syncora’s contemplated discovery requests — attached as

Exhibits E-S — are tailored to the specific issues in this case and seek only that

information which is necessary to determine whether injunctive relief is necessary.

Thus, they will not impose an undue burden on the City or any third-parties.




      WHEREFORE, for the foregoing reasons, Syncora respectfully requests that

the Court grant its Emergency Motion to Dissolve the Temporary Restraining

Order and Conduct Expedited Discovery and restore the status quo ante by

ordering the City to return to the General Receipts Subaccount the funds that U.S.


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Bank was ordered to release. A copy of the discovery requests Syncora intends to

serve is attached as Exhibits E-S.




Dated: July 12, 2013                             Respectfully submitted,

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